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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      9/28/2023


L.V., individually, and L.V. on behalf of C.V.,
                                                                            7:22-CV-4255 (VR)
                                            Plaintiffs,
                                                                                ORDER
                          -against-

Rye City School District,

                                            Defendant.

-----------------------------------------------------------------X

VICTORIA REZNIK, United States Magistrate Judge:

        The parties are directed to file a joint letter by no later than October 27, 2023, providing

the Court with an update on the status of the case. The letter should detail the progress of

discovery in the prior month and the anticipated next steps in the upcoming month.

        SO ORDERED.

DATED:           White Plains, New York
                 September 28, 2023




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                                                             VICTORIA REZNIK
                                                             United States Magistrate Judge
